     CASE 0:07-cr-00278-PAM-AJB   Doc. 393   Filed 04/29/09   Page 1 of 1



                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                      Criminal No. 07-278(1)(PAM)


UNITED STATES OF AMERICA,         )
               Plaintiff,         )
                                  )    ORDER
v.                                )
                                  )
(1) JAFARI TYWAN BANKS,           )
               Defendant.         )


        This matter is before the Court on the government’s motion to

seal.     NOW, THEREFORE, IT IS HEREBY ORDERED that the government’s

motion is granted.



Dated: April      28 , 2009




                                  S/Paul A. Magnuson
                                  THE HONORABLE PAUL A. MAGNUSON
                                  United States District Judge
                                  District of Minnesota
